Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
07/30/2021 08:09 AM CDT




                                                         - 749 -
                               Nebraska Supreme Court Advance Sheets
                                        309 Nebraska Reports
                                                  STATE v. COOMES
                                                  Cite as 309 Neb. 749



                                        State of Nebraska, appellee, v.
                                         Keith P. Coomes, appellant.
                                                     ___ N.W.2d ___

                                           Filed July 23, 2021.    No. S-20-720.

                 1. Judgments: Speedy Trial: Appeal and Error. Generally, a trial court’s
                    determination as to whether charges should be dismissed on speedy trial
                    grounds is a factual question which will be affirmed on appeal unless
                    clearly erroneous.
                 2. Judgments: Appeal and Error. Under a clearly erroneous standard of
                    review, an appellate court does not reweigh the evidence but considers
                    the judgment in a light most favorable to the successful party, resolving
                    evidentiary conflicts in favor of the successful party, who is entitled to
                    every reasonable inference deducible from the evidence.
                 3. Appeal and Error. Plain error exists where there is an error, plainly
                    evident from the record but not complained of at trial, which prejudi-
                    cially affects a substantial right of a litigant and is of such a nature that
                    to leave it uncorrected would cause a miscarriage of justice or result in
                    damage to the integrity, reputation, and fairness of the judicial process.
                 4. Criminal Law: Trial: Evidence: Proof. Trial courts have discretion
                    regarding the order of proof, even in criminal cases.
                 5. Trial: Evidence: Proof. The order in which evidence is presented gen-
                    erally does not affect the burden of proof.
                 6. ____: ____: ____. The order of proof is a rule of practice, not of law,
                    and departures are allowed whenever the court considers them necessary
                    to promote justice, so long as the trial court does not place the burden of
                    proof on the wrong party.
                 7. Trial: Evidence: Proof: Appeal and Error. Error ordinarily cannot be
                    successfully asserted on account of any irregularity in the order of proof
                    unless prejudice is shown.
                 8. Speedy Trial: Evidence: Proof. To meet its burden of proving exclud-
                    able time under Neb. Rev. Stat. § 29-1207(4), the State is entitled to rely
                    on evidence offered by the defendant and received by the court.
                                     - 750 -
            Nebraska Supreme Court Advance Sheets
                     309 Nebraska Reports
                              STATE v. COOMES
                              Cite as 309 Neb. 749
 9. Speedy Trial. To calculate the 6-month speedy trial period under Neb.
    Rev. Stat. § 29-1207 (Reissue 2016), a court must exclude the day the
    complaint was filed, count forward 6 months, back up 1 day, and then
    add any time excluded under § 29-1207(4) to determine the last day the
    defendant can be tried.
10. ____. The 6-month period within which an accused is to be brought to
    trial refers to a period of 6 calendar months, not 180 days.
11. Speedy Trial: Motions for Mistrial. Once a mistrial is granted, the
    speedy trial clock is restarted, and the 6-month speedy trial period com-
    mences to run from the date of the mistrial.
12. Speedy Trial. The primary burden is on the State to bring an accused
    person to trial within the time provided by law.
13. Speedy Trial: Proof. When a motion for absolute discharge is filed, the
    State bears the burden to show, by the greater weight of the evidence,
    the applicability of one or more of the excluded time periods under Neb.
    Rev. Stat. § 29-1207(4) (Reissue 2016).
14. Speedy Trial: Good Cause: Words and Phrases. “Good cause,” for
    purposes of Neb. Rev. Stat. § 29-1207(4)(f ) (Reissue 2016), means a
    substantial reason, one that affords a legal excuse; it is a factual question
    dealt with on a case-by-case basis.
15. Good Cause: Proof. A district court’s good cause findings must be
    supported by evidence in the record, and the State bears the burden of
    establishing facts showing that good cause existed.
16. Speedy Trial: Good Cause: Appeal and Error. When a trial court
    relies on Neb. Rev. Stat. § 29-1207(4)(f ) (Reissue 2016) to exclude time
    from the speedy trial calculation, a general finding of “good cause” will
    not suffice. Instead, the court must make specific findings as to the good
    cause which resulted in the delay, and an appellate court will give defer-
    ence to such factual findings unless they are clearly erroneous.
17. Speedy Trial: Words and Phrases. For purposes of the speedy trial cal-
    culation, there is no meaningful distinction between the phrases “period
    of time” and “period of delay.”
18. ____: ____. Because a period of delay is generally synonymous with a
    period of time, excludable periods can result from delays in the progres-
    sion of a criminal case regardless of whether the trial date was post-
    poned or remained unchanged.
19. Speedy Trial: Appeal and Error. In an appeal from the denial of a
    motion for absolute discharge, the State as appellee does not request
    affirmative relief by arguing that additional periods of delay, which
    were neither considered nor ruled upon by the district court, are also
    properly excludable.
                                   - 751 -
           Nebraska Supreme Court Advance Sheets
                    309 Nebraska Reports
                             STATE v. COOMES
                             Cite as 309 Neb. 749
20. Speedy Trial: Motions for Continuance. Excludable time for a con-
    tinuance begins the day after the continuance is granted and includes the
    day on which the continuance ends.

  Appeal from the District Court for Dawes County: Travis P.
O’Gorman, Judge. Affirmed.

  Amy L. Patras and Andrew M. Pope, of Crites, Shaffer,
Connealy, Watson, Patras &amp; Watson, P.C., L.L.O., for appellant.

   Douglas J. Peterson, Attorney General, and Jordan Osborne
for appellee.

   Cassel, Stacy, Funke, Papik, and Freudenberg, JJ.

   Stacy, J.
   Keith P. Coomes appeals from the district court’s denial of
his motion for absolute discharge. Among other things, Coomes
argues the court impermissibly shifted the burden of proof dur-
ing the hearing on his motion, and he argues the court erred
in finding “good cause” under Neb. Rev. Stat. § 29-1207(4)(f )
(Reissue 2016) to exclude a period of time immediately follow-
ing the appointment of replacement defense counsel. Although
our speedy trial calculations differ somewhat from the trial
court’s calculations, we agree that Coomes’ statutory speedy
trial rights were not violated and therefore affirm.

                       I. BACKGROUND
                          1. First Trial
   On August 9, 2018, the State filed an information in the
district court for Dawes County, charging Coomes with assault
in the first degree (a Class II felony) and assault in the third
degree (a Class I misdemeanor). Coomes retained attorney Jon
Worthman to represent him.
   After several continuances agreed to by the defense, the
matter came on for jury trial on September 12, 2019. The jury
found Coomes not guilty on the third degree assault charge,
                              - 752 -
         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                        STATE v. COOMES
                        Cite as 309 Neb. 749
but could not reach a unanimous verdict on the other charge.
The court therefore accepted the jury’s verdict on the third
degree assault charge, and it declared a mistrial on the first
degree assault charge. Later the same day, the court set the
matter for a status hearing on October 22 to address whether
the State would seek retrial on the charge of first degree
assault.

                  2. Proceedings on Retrial
                     (a) October 22, 2019, to
                         January 17, 2020
   At the status hearing on October 22, 2019, defense counsel
appeared without Coomes and moved to continue the hearing,
advising that Coomes had been seriously injured in a motor­
cycle accident and required surgery. The court granted the
motion and continued the matter to December 10.
   At the December 2019 hearing, defense counsel again
appeared without Coomes and requested another continuance,
representing that Coomes was still recovering and unable to
leave his home. The continuance was granted and a status con-
ference was set for January 7, 2020.
   At the January 7, 2020, hearing, defense counsel again
appeared without Coomes and moved to continue because his
client “still [couldn’t] travel.” The court granted the motion
and continued the matter for a pretrial hearing on January 17.
   No one disputes that the period of delay from October 22,
2019, to January 17, 2020, was attributable to Coomes for pur-
poses of the speedy trial calculation.

              (b) January 17 to February 11, 2020
   The pretrial hearing set for January 17, 2020, did not occur.
Instead, the district court entered an order stating: “This mat-
ter comes before the Court on the Court’s own Motion. Jon
Worthman is removed as counsel for the Defendant. A status
hearing will be held in this matter on Feb[.] 11, 2020, at 1:00,
p.m.” The order did not provide a reason for the sua sponte
                                    - 753 -
             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                              STATE v. COOMES
                              Cite as 309 Neb. 749
removal of Coomes’ retained counsel, but in a later order, the
court stated that Worthman had been arrested. 1
                (c) February 11 to March 10, 2020
   At the status hearing on February 11, 2020, Coomes appeared
without counsel. On the record, the court informed Coomes
that Worthman was “no longer practicing” law and asked
Coomes what he wanted to do about counsel moving forward.
Coomes indicated he would like the court to consider appoint-
ing counsel in this case, as well as in an unrelated criminal
case he had pending. After obtaining information on Coomes’
financial situation, the court stated:
      Based on what I know and what you’ve provided to me,
      I will find that you are indigent as that term is defined by
      the law. I will appoint the public defender in both of your
      cases . . . to represent you.
         What I will do is I will give her a chance to meet with
      you; become familiar with your files. So I will set a status
      conference on March 10th at one o’clock. So you need to
      be back here that date and time with [the public defender]
      and then it’ll go forward.
   Later that same day, the prosecutor and the public defender
appeared before the court, and the public defender made an
oral motion to withdraw based on a conflict of interest. The
court granted the motion and appointed attorney Andrew Pope
to represent Coomes.
                 (d) March 10 to April 7, 2020
   At the status hearing on March 10, 2020, Coomes was pres-
ent with his appointed counsel, Pope. The court asked Pope
whether he had been able to review the file and “get caught
up.” Counsel replied, “I haven’t, Your Honor.” He explained,
“I just today had a chance to speak with Mr. Coomes” and
had just filed motions for discovery and for preparation of
1
    See, generally, State of Nebraska ex rel. Counsel for Dis. v. Worthman, 306
    Neb. 289, 953 N.W.2d 534 (2020).
                             - 754 -
         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                       STATE v. COOMES
                       Cite as 309 Neb. 749
the transcript from the original trial. When asked by the court
whether he would be ready for a pretrial hearing soon, Coomes’
counsel replied, “Once I get discovery and have a chance to go
through that, which I don’t think it would be too much of an
issue, I could get things moving towards pretrial.” With the
agreement of the parties, the court set another status hearing
for April 7, with the expectation that a pretrial date would be
set at that hearing.
   Our record shows the pretrial motions mentioned by
Coomes’ counsel during the status hearing were filed on March
10, 2020, and a journal entry dated April 3, 2020, shows the
motions were granted.
                  (e) April 7 to May 12, 2020
   At the status hearing on April 7, 2020, Coomes appeared by
telephone and his counsel appeared via video conference. The
State moved to continue for another status hearing “a month
down the road,” explaining it had provided the requested dis-
covery in the case to be retried, but had not yet provided the
requested discovery in Coomes’ other pending criminal case.
Coomes’ counsel responded, “Judge, that’s fine with me,” and
the court continued the matter for another status hearing on
May 12.
                   (f ) May 12, 2020, Hearing
                        and June 9 Pretrial
   The status hearing on May 12, 2020, was held via video
conference. Coomes did not appear for the hearing, and the
court’s attempts to reach Coomes using the number provided
by defense counsel were unsuccessful. The hearing proceeded
without objection, and defense counsel advised the court he had
spoken with Coomes the day before the hearing and Coomes
wanted to get the case “scheduled for retrial.” The court set a
pretrial hearing for June 9 and advised defense counsel that no
change of plea would be accepted after the pretrial.
   At the June 9, 2020, pretrial, all counsel were present and
Coomes appeared via telephone. After discussing counsel’s
                             - 755 -
         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                       STATE v. COOMES
                       Cite as 309 Neb. 749
availability, the court proposed setting retrial for August 17
and 18 and using space at the local high school or college
to allow for social distancing of the jury. After both counsel
indicated they were available on those dates, the court asked
Coomes directly, “Does that work for you Mr. Coomes?”
Coomes replied, “Yes, it does.” The court then set retrial for
August 17 and 18.

              (g) Motion for Absolute Discharge,
                      Hearing, and Order
   On August 10, 2020, Coomes filed a motion for absolute
discharge on statutory speedy trial grounds. One week later,
the court held a hearing on the motion and the following col-
loquy occurred:
        THE COURT: . . . We are set for a motion for absolute
     discharge. [Defense counsel], do you have any evidence?
        [Defense counsel]: Yes, Judge. I have three exhibits
     marked Exhibit 5, Exhibit 6, and Exhibit 7. Exhibit 5 that
     I would offer into evidence is a complete transcript of
     proceedings held in this matter since I think the mistrial
     on September 12th.
        THE COURT: Any objection to 5?
        [Prosecutor]: No, Your Honor.
        THE COURT: 5 is received.
        [Defense counsel]: Exhibit 6 is an affidavit of counsel
     in support of the discharge. I would offer Exhibit 6.
        THE COURT: Any objection to 6?
        [Prosecutor]: No, Your Honor.
        THE COURT: 6 is received.
        ....
        [Defense counsel]: And then Exhibit 7 is the complete
     court file in CR18-44. I’d offer Exhibit 7 into evidence.
        THE COURT: Any objection to 7?
        [Prosecutor]: No, Your Honor.
        THE COURT: 7 is received.
        ....
                              - 756 -
         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                        STATE v. COOMES
                        Cite as 309 Neb. 749
         THE COURT: Any evidence from the State?
         [Prosecutor]: No, Your Honor.
   After hearing argument, the court took the matter under
advisement. In an order entered September 28, 2020, the dis-
trict court recited the applicable law, including that it was the
State’s burden to prove the applicability of any excludable
periods under § 29-1207(4). The court then overruled Coomes’
motion for absolute discharge, reasoning:
      [W]ithout any excludable periods, [Coomes] should have
      been brought to trial by March 12, 2020.
         The Court finds there to be 163 excludable days. The
      entire time between October 22, 2019 until April 7, 2020
      is excludable time. From October 22, 2019 until at least
      January 17, 2020, the case was continued at [Coomes’]
      request because of his injuries.
         Due to the arrest of [Coomes’] original attorney, Mr.
      Pope was appointed to represent [Coomes] on January 17,
      2020. Mr. Pope needed time to be brought up to speed on
      [Coomes’] case to provide him with a proper defense. Mr.
      Pope was up to speed on April 7, 2020. Thus, the time
      between January 17, 2020 until April 7, 2020, is excluded
      for good cause pursuant to Section 29-[1207](4)(f ).
         The Court starts the clock again on April 7, 2020. The
      present motion stops the clock again on August 10, 2020.
      State v. Williams, 277 Neb. 133 (2009).
         Adding 163 days to the original date of March 12,
      2020, gets us to August 22, 2020. [Coomes’] Motion for
      Absolute Discharge is denied.
   Coomes timely appealed, and we moved this case to our
docket on our own motion.
                II. ASSIGNMENTS OF ERROR
   Coomes assigns five errors, which we consolidate and
restate into three. He assigns the district court erred in (1)
requiring him to produce his evidence in support of absolute
discharge first, thereby improperly shifting the burden of proof
from the State to him; (2) finding the State met its burden
                                   - 757 -
            Nebraska Supreme Court Advance Sheets
                     309 Nebraska Reports
                             STATE v. COOMES
                             Cite as 309 Neb. 749
of proving excludable time when it offered no evidence at
the hearing; and (3) finding there was “good cause” under
§ 29-1207(4)(f ) to exclude the time period from January 17 to
April 7, 2020.
                III. STANDARD OF REVIEW
   [1,2] Generally, a trial court’s determination as to whether
charges should be dismissed on speedy trial grounds is a fac-
tual question which will be affirmed on appeal unless clearly
erroneous. 2 Under a clearly erroneous standard of review, an
appellate court does not reweigh the evidence but considers
the judgment in a light most favorable to the successful party,
resolving evidentiary conflicts in favor of the successful party,
who is entitled to every reasonable inference deducible from
the evidence. 3
                         IV. ANALYSIS
                      1. Burden of Proof
   Coomes’ first two assignments of error pertain to the bur-
den of proof. In his first assignment, Coomes argues that
“the district court should have started the presentation of evi-
dence - the burden of production of evidence - with the State,” 4
but instead “required [him] to produce his evidence in support
of his Motion for Absolute Discharge” 5 first. Coomes argues
the order in which evidence was presented impermissibly
shifted the burden of proof from the State to him. In his second
assignment, Coomes argues that because the State failed to
offer any evidence at the hearing, it necessarily failed to meet
its burden of proving any excludable periods of time. Coomes
admits he did not raise either of these issues—by objection or
otherwise—before the district court. He therefore asks that we
review both assignments for plain error.
2
    State v. Jennings, 308 Neb. 835, 957 N.W.2d 143 (2021).
3
    State v. Hernandez, ante p. 299, 959 N.W.2d 769 (2021).
4
    Brief for appellant at 14.
5
    Id.                                      - 758 -
              Nebraska Supreme Court Advance Sheets
                       309 Nebraska Reports
                                STATE v. COOMES
                                Cite as 309 Neb. 749
   [3] Plain error exists where there is an error, plainly evident
from the record but not complained of at trial, which prejudi-
cially affects a substantial right of a litigant and is of such a
nature that to leave it uncorrected would cause a miscarriage
of justice or result in damage to the integrity, reputation, and
fairness of the judicial process. 6 As we explain, on this record
there is no plain error regarding either the order of proof or the
burden of proof.
              (a) No Plain Error in Order of Proof
   [4-7] Nebraska has a statute which sets out the order in
which evidence should be presented at trial, 7 but we have long
recognized that trial courts have discretion regarding the order
of proof, 8 even in criminal cases. 9 Customarily, the party bear-
ing the burden of proof presents its evidence first. 10 But the
order in which evidence is presented generally does not affect
the burden of proof. 11 This is so because the order of proof
is “a rule of practice, not of law, and departures are allowed
 6
     State v. Starks, 308 Neb. 527, 955 N.W.2d 313 (2021).
 7
     See Neb. Rev. Stat. § 29-2016 (Reissue 2016).
 8
     See, Westgate Rec. Assn. v. Papio-Missouri River NRD, 250 Neb. 10,
     547 N.W.2d 484 (1996) (trial court has discretion to allow introduction
     of evidence in rebuttal which should have been introduced during case in
     chief ); Hyde v. Cleveland, 203 Neb. 420, 279 N.W.2d 105 (1979) (order of
     proof is within trial court’s discretion and irregularity cannot successfully
     be asserted absent prejudice); Berggren v. Hannan, O’Dell &amp; Van Brunt,
     116 Neb. 18, 215 N.W. 556 (1927) (same).
 9
     See, State v. Osborn, 241 Neb. 424, 490 N.W.2d 160 (1992) (order of
     proof is within discretion of trial court and ruling will not be reversed
     absent prejudice); State v. Adams, 181 Neb. 75, 147 N.W.2d 144 (1966)
     (order of proof is within discretion of trial court); State v. Barr, 90 Neb.
     766, 134 N.W. 525 (1912) (order of proof is within discretion of trial court
     and reviewed for abuse of discretion).
10
     See 5 Am. Jur. Trials 505, § 3 at 509-10 (1966) (“[u]nder the normal order
     of proof the party with the burden of proof also has the duty or burden of
     proceeding with the evidence to establish the facts”).
11
     See 75 Am. Jur. 2d Trial § 269 (2018).
                                      - 759 -
              Nebraska Supreme Court Advance Sheets
                       309 Nebraska Reports
                                STATE v. COOMES
                                Cite as 309 Neb. 749
whenever the court considers them necessary to promote jus-
tice, so long as the trial court does not place the burden of
proof on the wrong party.” 12 As such, error ordinarily cannot
be successfully asserted on account of any irregularity in the
order of proof unless prejudice is shown. 13
   On this record, we reject Coomes’ suggestion that the trial
court committed plain error by requiring him to produce his
evidence first. First, we question whether the order of proof
in this case can fairly be characterized as a decision of the
court at all. At the start of the hearing, the court stated, “We
are set for a motion for absolute discharge. [Defense counsel],
do you have any evidence?” Defense counsel then proceeded
to offer three exhibits. Nowhere in this exchange did the court
require or even invite Coomes to produce his evidence first. It
appears to us that the court’s standard housekeeping question
to defense counsel simply prompted counsel to offer his evi-
dence at that time.
   But even if we construe the court’s statement as a deliber-
ate invitation to Coomes to offer his evidence first, we see no
indication on this record that the order of proof at the eviden-
tiary hearing caused the court to impermissibly shift the burden
of proving excludable time from the State to Coomes. To the
contrary, the court’s order correctly recited the settled prin-
ciple that the State bears the burden to prove, by the greater
weight of the evidence, the applicability of one or more of the
excluded time periods under § 29-1207(4). 14
12
     Id. at 523. See, also, Osborn, supra note 9, 241 Neb. at 430, 490 N.W.2d
     at 165 (“the judge may determine generally the order in which parties will
     adduce proof; his or her determination will be reviewed only for abuse of
     discretion”); Small v. State, 165 Neb. 381, 395, 85 N.W.2d 712, 720-21
     (1957) (“[t]he order in which a party shall introduce his proof is to a great
     extent discretionary with the trial court, and the court’s action will not
     be reversed unless an abuse of discretion is shown”); Daniel A. Morris,
     Nebraska Trials § 8:3 at 225 (2020) (“[a]ny departure from the usual order
     of proof is discretionary with the trial court”).
13
     See Hyde, supra note 8. See, also, Morris, supra note 12.
14
     See, e.g., Jennings, supra note 2.
                                      - 760 -
             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                                STATE v. COOMES
                                Cite as 309 Neb. 749
   No matter the reason for the irregularity in the order of
proof, we can discern no prejudice to a substantial right of
Coomes based on the fact that his counsel offered evidence
first. We therefore find no plain error resulting from the order
of proof during the evidentiary hearing.
                (b) State Can Rely on Evidence
                      Adduced by Coomes
   Coomes’ second assignment of error argues that because
the State failed to offer any evidence at the absolute discharge
hearing, it necessarily failed to meet its burden of proof and it
was plain error for the district court to conclude otherwise. We
rejected a similar argument in State v. Hernandez. 15
   In that case, the defendant moved for absolute discharge,
alleging his statutory speedy trial rights had been violated. 16
The defendant’s motion contained statements of fact regarding
his incarceration in Iowa during a certain period of time. At
the hearing on the defendant’s motion for absolute discharge,
the State offered no evidence. When the district court over-
ruled the motion for discharge, it relied in part on admissions
contained in the defendant’s motion. On appeal, the defendant
argued that because the State presented no evidence at the
hearing on his motion for discharge, the State necessarily failed
to meet its burden of proof. We disagreed.
   We explained that the statements of fact in the defendant’s
motion for absolute discharge were properly construed as
judicial admissions and therefore served as a substitute for
evidence. As a matter of first impression, we saw no reason
why the principles governing judicial admissions of a party
should not also apply to admissions made in a motion for
absolute discharge. We therefore concluded not only that the
State was entitled to take advantage of the defendant’s judi-
cial admissions as evidence pertaining to the motion, but also
that “the State’s failure to produce its own evidence did not
15
     Hernandez, supra note 3.
16
     Id.
                                      - 761 -
              Nebraska Supreme Court Advance Sheets
                       309 Nebraska Reports
                               STATE v. COOMES
                               Cite as 309 Neb. 749
necessarily mean that the district court erred in overruling [the
defendant’s] motion.” 17
   Our reasoning in Hernandez is consistent with our juris-
prudence generally, which allows parties to rely on evidence
offered by the other side. 18 As one legal commentator explains:
        In determining the weight and sufficiency of the evi-
     dence, evidence offered by either side that is helpful to
     the other side may be used by the other side. In other
     words, any deficiencies in one party’s case may be cured
     by proof presented by the opposing party. This is so
     because the jury can consider all the evidence, regardless
     of which side introduced it.
        ....
        [P]roof of any element of an offense may come from
     either party. Consequently, where the defense presents
     evidence, this evidence may also directly or inferentially
     support a reasonable finding of guilt or may assist in
     proving the state’s case, and the accused cannot complain
     that the evidence adduced by the prosecution is insuf-
     ficient where the accused has supplied the deficiency. 19
17
     Id. at 305, 959 N.W.2d at 775.
18
     See Miller v. E.M.C. Ins. Cos., 259 Neb. 433, 444, 610 N.W.2d 398, 407-
     08 (2000) (“[t]he burden of proof which a party has may be supported
     by evidence produced by the opposing party as well as by his or her
     own evidence”). See, also, State v. Brown, 235 Neb. 10, 453 N.W.2d
     576 (1990) (affirming denial of motion to suppress where only evidence
     presented was offered by defendant).
19
     23A C.J.S. Criminal Procedure and Rights of Accused § 1547 at 266-67
     (2016). See, also, Rankin v. State, 953 S.W.2d 740, 741 (Tex. Crim. App.
     1996) (“[p]roof of any element may come from either party; it is not
     required that the proof come solely from the State”); State v. Pittera, 139
     N.H. 257, 260, 651 A.2d 931, 933 (1994) (“[w]e review the entire trial
     record because, even though the defendant is not required to present a
     case, if he chooses to do so, he takes the chance that evidence presented in
     his case may assist in proving the State’s case”); People v. Husar, 22 Ill.
     App. 3d 758, 767, 318 N.E.2d 24, 32 (1974) (“[e]vidence introduced by a
     defendant may be considered by the trier of the facts,” and “it may supply
     deficiencies in the State’s proof ”).
                                    - 762 -
             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                             STATE v. COOMES
                             Cite as 309 Neb. 749
   Coomes offered three exhibits at the hearing on his motion
for absolute discharge: a certified copy of the court file in his
criminal case, transcripts of the various hearings before the
district court after the mistrial was declared, and an affidavit
from Coomes’ counsel reciting the relevant procedural history
and showing counsel’s speedy trial calculations. After the court
received these exhibits, the State did not offer any additional
evidence, and the matter was taken under advisement.
   [8] While it is somewhat puzzling that the State did not offer
evidence, or at least join in the offer made by Coomes, we nev-
ertheless hold the State was entitled to rely upon the evidence
offered by Coomes, and received by the court, in meeting its
burden of proving excludable time under § 29-1207(4). 20 On
this record, it was not plain error for the court to rely on evi-
dence offered by the defense when determining whether the
State met its burden of proof.

                    2. Speedy Trial Analysis
   Considering all available evidence in the record, we proceed
to address Coomes’ final assignment of error, in which he
argues the record does not support the trial court’s finding that
“good cause” under § 29-1207(4)(f ) excludes the time period
from January 17 to April 7, 2020. First, we review the prin-
ciples of law governing speedy trial calculations generally.
   A criminal defendant’s speedy trial rights are governed by
§ 29-1207 and Neb. Rev. Stat. § 29-1208 (Reissue 2016). As
pertinent to this appeal, § 29-1207 provides, in relevant part:
         (1) Every person indicted or informed against for any
      offense shall be brought to trial within six months, and
      such time shall be computed as provided in this section.
         (2) Such six-month period shall commence to run from
      the date the indictment is returned or the information
      filed . . . .
20
     See Hernandez, supra note 3.
                                   - 763 -
             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                             STATE v. COOMES
                             Cite as 309 Neb. 749
         (3) If a defendant is to be tried again following a mis-
      trial, an order for a new trial, or an appeal or collateral
      attack, such period shall commence to run from the date
      of the mistrial, order granting a new trial, or the mandate
      on remand.
         (4) The following periods shall be excluded in comput-
      ing the time for trial:
         ....
         (b) The period of delay resulting from a continuance
      granted at the request or with the consent of the defendant
      or his or her counsel. . . . A defendant is deemed to have
      waived his or her right to speedy trial when the period of
      delay resulting from a continuance granted at the request
      of the defendant or his or her counsel extends the trial
      date beyond the statutory six-month period;
         ....
         (f ) Other periods of delay not specifically enumerated
      in this section, but only if the court finds that they are for
      good cause.
   [9-11] To calculate the 6-month period under § 29-1207, “a
court must exclude the day the complaint was filed, count for-
ward 6 months, back up 1 day, and then add any time excluded
under § 29-1207(4) to determine the last day the defendant can
be tried.” 21 The 6-month period within which an accused is to
be brought to trial refers to a period of 6 calendar months, not
180 days. 22 Once a mistrial is granted, the speedy trial clock is
restarted, 23 and the 6-month speedy trial period commences to
run from the date of the mistrial. 24
   [12,13] We have long recognized that the primary burden
is on the State to bring an accused person to trial within the
21
     State v. Chapman, 307 Neb. 443, 448, 949 N.W.2d 490, 493-94 (2020).
22
     See State v. Jones, 208 Neb. 641, 305 N.W.2d 355 (1981).
23
     State v. Dockery, 273 Neb. 330, 729 N.W.2d 320 (2007).
24
     Id. See § 29-1207(3).
                                    - 764 -
             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                              STATE v. COOMES
                              Cite as 309 Neb. 749
time provided by law. 25 If a defendant is “not brought to trial
before the running of the time for trial as provided for in sec-
tion 29-1207, as extended by excluded periods, he or she shall
be entitled to his or her absolute discharge from the offense
charged.” 26 When a motion for absolute discharge is filed, the
State bears the burden to show, by the greater weight of the
evidence, that one or more of the excluded time periods under
§ 29-1207(4) are applicable. 27
   In this case, all parties agree the 6-month speedy trial clock
was restarted on September 12, 2019, the date the mistrial was
declared. 28 Excluding that day, counting forward 6 months, and
backing up 1 day, the State was required to retry Coomes on
or before March 12, 2020, unless the State proved excludable
time periods.
   We agree with the parties that the 87-day period between
October 22, 2019, and January 17, 2020, was properly exclud-
able as a period of delay resulting from continuances granted
at the request of Coomes’ counsel. 29 The dispute in this appeal
centers around the excludability of various periods of delay
occurring after January 17.
   The district court found the entire period between January
17 and April 7, 2020, was excludable for “good cause” under
§ 29-1207(4)(f ), due to the appointment of replacement defense
counsel who “needed time to be brought up to speed” in order
to provide a proper defense. On appeal, Coomes argues none of
the time after January 17 should have been excluded.
25
     See, Hernandez, supra note 3; State v. Richter, 240 Neb. 223, 481 N.W.2d
     200 (1992); State v. Beck, 212 Neb. 701, 325 N.W.2d 148 (1982); State
     v. Bolton, 210 Neb. 694, 316 N.W.2d 619 (1982), disapproved on other
     grounds, State v. Tamayo, 280 Neb. 836, 791 N.W.2d 152 (2010).
26
     § 29-1208.
27
     Hernandez, supra note 3.
28
     See Dockery, supra note 23.
29
     See § 29-1207(4)(b).
                                    - 765 -
             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                              STATE v. COOMES
                              Cite as 309 Neb. 749
   The State disagrees. It asserts the trial court properly
excluded the period between February 11 and April 7, 2020,
for good cause under § 29-1207(4)(f ). In addition, the State
argues that Coomes consented to the period of delay between
March 10 and May 12, and it asserts that time is also exclud-
able under § 29-1207(4)(b).
   In the sections that follow, we consider the parties’ arguments.
                         (a) Good Cause
   [14] “Good cause,” for purposes of § 29-1207(4)(f ), is not
defined by statute, but in the related context of considering
“good cause” under the speedy trial provisions of Nebraska’s
detainer statute, 30 we have said “‘[g]ood cause means a sub-
stantial reason; one that affords a legal excuse.’” 31 We have
also recognized that good cause is “‘something that must be
substantial, but [is] also a factual question dealt with on a
case-by-case basis.’” 32 We have found this general definition to
be fitting when analyzing “good cause” to exclude time under
§ 29-1207(4)(e), 33 and we now conclude it is also fitting to
apply when analyzing good cause under § 29-1207(4)(f ).
   [15,16] A district court’s good cause findings must be sup-
ported by evidence in the record, and the State bears the bur-
den of establishing facts showing that good cause ­existed. 34
Moreover, when a trial court relies on § 29-1207(4)(f ) to
exclude time from the speedy trial calculation, we have said
that a general finding of “good cause” will not suffice. 35
Instead, the court must make specific findings as to the
good cause which resulted in the delay. 36 An appellate court
30
     See Neb. Rev. Stat. § 29-3805 (Reissue 2016).
31
     State v. Kolbjornsen, 295 Neb. 231, 237, 888 N.W.2d 153, 157 (2016).
32
     Id.33
     State v. Beitel, 296 Neb. 781, 895 N.W.2d 710 (2017).
34
     See State v. Baird, 259 Neb. 245, 609 N.W.2d 349 (2000).
35
     State v. Kinstler, 207 Neb. 386, 299 N.W.2d 182 (1980).
36
     See id.                                   - 766 -
             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                             STATE v. COOMES
                             Cite as 309 Neb. 749
will give deference to such factual findings unless they are
clearly erroneous. 37
   With these principles in mind, we consider the district
court’s factual findings of good cause. We focus first on the
time period from January 17 to February 11, 2020.
              (i) January 17 to February 11, 2020
   On January 17, 2020, Coomes’ counsel was removed by a
sua sponte order of the trial court, and replacement counsel
was appointed by the court on February 11. In his appellate
briefing, Coomes questions the trial court’s authority to remove
his privately retained counsel, but this appeal does not require
us to address the propriety of the court’s decision in that regard
and we express no opinion on that issue. Instead, the inquiry
for purposes of our speedy trial analysis is whether the district
court’s finding of good cause for the delay resulting from the
appointment of replacement counsel was clearly erroneous.
   The court’s order recited the following factual findings in
support of its good cause determination:
         Due to the arrest of [Coomes’] original attorney, Mr.
      Pope was appointed to represent [Coomes] on January 17,
      2020. Mr. Pope needed time to be brought up to speed on
      [Coomes’] case to provide him with a proper defense. Mr.
      Pope was up to speed on April 7, 2020. Thus, the time
      between January 17, 2020 until April 7, 2020, is excluded
      for good cause pursuant to Section 29-[1207](4)(f ).
The court’s finding that replacement counsel was appointed on
“January 17, 2020,” is clearly erroneous, as the record plainly
shows that replacement counsel was not appointed until the
hearing on February 11. Because the trial court made no other
specific factual findings that could arguably support a find-
ing of good cause for the delay from January 17 to February
11, we agree with Coomes that the record does not support
excluding the period from January 17 to February 11 for good
37
     See State v. Feldhacker, 267 Neb. 145, 672 N.W.2d 627 (2004).
                                    - 767 -
             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                              STATE v. COOMES
                              Cite as 309 Neb. 749
cause. But as we explain next, we find the record does support
the court’s good cause finding for the period from February 11
to April 7.

                (ii) February 11 to April 7, 2020
   Coomes argues this time period was not excludable under
the good cause provision of § 29-1207(4)(f ) for two rea-
sons. First, he argues there was no “period[] of delay” for
purposes of § 29-1207(4)(f ). Second, he argues there was no
evidence to support the conclusion that replacement counsel
needed additional time to prepare for trial. We find no merit to
either argument.
   For his “period[] of delay” argument, Coomes relies on State
v. Covey 38 for the proposition that “[u]nder a plain reading of
§ 29-1207(4)(f ), before an evaluation for good cause need be
made, there must first be a ‘period of delay.’” As we explain,
that case is inapposite.
   In Covey, we were considering whether a “‘Motion to
Quash Death Penalty’” filed by the defendant amounted to a
“period of delay” for purposes of calculating speedy trial. We
concluded it did not, reasoning the motion recited that a hear-
ing on its substance should only be taken up “‘in the event of
Defendant’s conviction for first degree murder.’” 39 There was
no “period of delay” caused by filing the motion, because “by
its terms, this motion was not to be decided before trial as to
guilt nor did it impact the commencement of trial.” 40 The cir-
cumstances in Covey were unique in that the defendant’s pre-
trial motion did not have any bearing at all on the preparation
for, or commencement of, trial, and by its own terms was not
to be taken up until after trial.
   [17,18] Other cases clarify that, for purposes of the speedy
trial calculation, there is no meaningful distinction between
38
     State v. Covey, 267 Neb. 210, 215, 673 N.W.2d 208, 212 (2004).
39
     Id.40
     Id.                                       - 768 -
              Nebraska Supreme Court Advance Sheets
                       309 Nebraska Reports
                                STATE v. COOMES
                                Cite as 309 Neb. 749
the phrases “period of time” and “period of delay.” 41 Because a
period of delay is generally synonymous with a period of time,
we have said that excludable periods can result from delays in
the progression of a criminal case “regardless of whether the
trial date was postponed or remained unchanged.” 42 Based on
this settled authority, we find no merit to Coomes’ argument
that there was no “period of delay” between February 11 and
April 7, 2020.
   Similarly, we find no merit to Coomes’ argument that there
was no evidence to support the finding that replacement coun-
sel needed additional time to prepare for trial, thus there was
no “good cause” for excluding the period from February 11 to
April 7, 2020. As a threshold matter, we observe generally that
under the appropriate circumstances, the period of time follow-
ing the appointment of replacement counsel can support a good
cause finding under § 29-1207(4)(f ), assuming the trial court
makes sufficient specific findings. 43 And in the instant appeal,
we conclude the district court’s findings were sufficient to sup-
port its determination of good cause for the delay occasioned
by the appointment of Coomes’ replacement counsel.
   Immediately after appointing replacement defense counsel
on February 11, 2020, the court advised Coomes it would
41
     Feldhacker, supra note 37, 267 Neb. at 155, 672 N.W.2d at 635 (explaining
     that “[t]he phrase ‘period of delay’ in § 29-1207(4)(f ) refers to a specified
     period of time in which trial did not commence”).
42
     State v. Lovvorn, 303 Neb. 844, 850, 932 N.W.2d 64, 69 (2019).
43
     See, e.g., State v. Craig, 15 Neb. App. 836, 739 N.W.2d 206 (2007)
     (finding “good cause” under § 29-1207(4)(f ) to exclude time between
     appointment of public defender and counsel’s first appearance when
     defendant previously represented to court he would retain private counsel
     and failed to do so); State v. Droz, 14 Neb. App. 32, 39, 703 N.W.2d 637,
     643 (2005) (noting “it could be argued that there was ‘good cause’ for
     delay following the appointment of new counsel,” but declining to find
     period of time excludable for good cause because court failed to make
     specific findings to that effect). See, also, Blackwell v. State, 338 Ark.
     671, 1 S.W.3d 399 (1999) (finding that delay resulting from need for
     appointment of new counsel excludable for good cause).
                                       - 769 -
             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                              STATE v. COOMES
                              Cite as 309 Neb. 749
set the next status hearing for March 10, to give Coomes a
chance to meet with his new counsel and allow counsel to
become familiar with Coomes’ files; Coomes responded, “All
right. Thank you.” At the hearing on March 10, the court asked
defense counsel whether he had been able to review the file
and “get caught up,” and counsel replied, “I haven’t, Your
honor.” Counsel elaborated that he had spoken to Coomes
for the first time that day and had just filed motions for dis-
covery and for preparation of the transcript from the original
trial. When asked by the court whether he would be ready for
a pretrial hearing soon, defense counsel replied, “Once I get
discovery and have a chance to go through that, which I don’t
think it would be too much of an issue, I could get things mov-
ing towards pretrial.” Based on this information, the court set
the next status hearing for April 7, with the expectation that a
pretrial date would be set at that time.
   This evidence supports the trial court’s specific factual find-
ing that Coomes’ new defense counsel “needed time to be
brought up to speed on [Coomes’] case to provide him with
a proper defense.” On this record, there is no clear error in
the trial court’s determination that the circumstances pro-
vided a substantial reason affording a legal excuse for the
delay 44 and therefore supported a finding of good cause under
§ 29-1207(4)(f ) to exclude the period of delay from February
11 to April 7, 2020. This resulted in 56 days of excluded time.
   Because of our conclusion regarding good cause, it is
unnecessary to address the State’s alternative argument that
the period from March 10 through April 7, 2020, is also prop-
erly excludable under § 29-1207(4)(b) as a period of delay
resulting from a continuance granted with the consent of
Coomes’ counsel. However, because the State also argues that
the period between April 7 and May 12 is excludable under
§ 29-1207(4)(b), we consider that argument next.
44
     See Kolbjornsen, supra note 31.
                                       - 770 -
              Nebraska Supreme Court Advance Sheets
                       309 Nebraska Reports
                                STATE v. COOMES
                                Cite as 309 Neb. 749
                   (iii) April 7 to May 12, 2020
   In its order denying absolute discharge, the district court did
not consider the excludability of any period after April 7, 2020.
On appeal, the State argues that the period from April 7 to May
12 is properly excluded under § 29-1207(4)(b) as a period of
delay resulting from a continuance granted with the consent of
Coomes’ counsel. We agree.
   As an initial matter, we reject Coomes’ suggestion that we
cannot consider the excludability of this time period because
the State did not file a cross-appeal. We have held that “[a]
cross-appeal must be properly designated, pursuant to [our
appellate rules], if affirmative relief is to be obtained.” 45 We
have described “[a]ffirmative relief ” as “a reversal, vacation,
or modification of a lower court’s judgment, decree, or final
order.” 46 But here, the State is not seeking a reversal, vacation,
or modification of the lower court’s order.
   [19] It is not unusual for our speedy trial opinions to consider
excludable periods that differ from those considered by the
trial court. 47 And in an appeal from the denial of a motion for
absolute discharge, the State as appellee does not request affirm­
ative relief by arguing that additional periods of delay, which
were neither considered nor ruled upon by the district court,
are also properly excludable. The absence of a cross-appeal in
this case does not preclude us from considering whether the
record supports additional excludable periods. 48
   [20] At the status hearing on April 7, 2020, the State made
an oral motion to continue the matter for “a month down
45
     State v. Bishop, 263 Neb. 266, 274, 639 N.W.2d 409, 416 (2002).
46
     Id.47
     See, e.g., State v. Billingsley, ante p. 616, ___ N.W.2d ___ (2021) (affirming
     denial of absolute discharge on grounds different than considered by trial
     court). Accord Kolbjornsen, supra note 31 (rejecting defendant’s argument
     that appellate court could not consider speedy trial issues under separate
     statute applicable to in-state prisoners because trial court applied only
     § 29-1207).
48
     See Billingsley, supra note 47.
                                     - 771 -
             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                               STATE v. COOMES
                               Cite as 309 Neb. 749
the road” and Coomes’ counsel responded, “Judge that’s fine
with me.” The court then set the matter for a status hearing on
May 12. As such, the period from April 7 to May 12 is a clas-
sic example of a “delay resulting from a continuance granted
at the request or with the consent of the defendant or his or
her counsel,” 49 and it is properly excluded from the speedy
trial calculation. We have explained that excludable time for
a continuance begins the day after the continuance is granted
and includes the day on which the continuance ends. 50 As such,
this excludable period began on April 8 and ended on May 12,
resulting in another 35 excludable days.
                 (b) Speedy Trial Calculation
   Having considered the arguments of the parties regarding
excludable time, we find this leaves only a calculation of the
total number of days properly excluded. As explained, the
speedy trial clock restarted when the mistrial was declared
on September 12, 2019, so in the absence of excludable
time, Coomes should have been brought to retrial by March
12, 2019.
   There were 87 excludable days from October 22, 2019, to
January 11, 2020, and 91 excludable days between February 11
and May 12, 2020, for a total of 178 excludable days. Adding
178 days to March 12, 2020, we arrive at September 6, 2020,
which was a Sunday, so the State had until Monday, September
7, to bring Coomes to trial.
   When Coomes filed his motion for absolute discharge on
August 10, 2020, the speedy trial deadline had not yet expired.
Since there was no statutory speedy trial violation, the district
court properly overruled Coomes’ motion. Moreover, because
Coomes’ motion for absolute discharge resulted in continu-
ing a timely retrial to a date outside the statutory 6-month
period, he has permanently waived his statutory speedy trial
49
     See § 29-1207(4)(b).
50
     Lovvorn, supra note 42.
                                   - 772 -
             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                             STATE v. COOMES
                             Cite as 309 Neb. 749
rights under § 29-1207(4)(b) and this court’s holding in State
v. Mortensen. 51

                        V. CONCLUSION
   For the foregoing reasons, we conclude that the district court
did not clearly err in denying Coomes’ motion for absolute dis-
charge. Accordingly, we affirm.
                                                   Affirmed.
   Miller-Lerman, J., participating on briefs.
   Heavican, C.J., not participating.
51
     See State v. Mortensen, 287 Neb. 158, 841 N.W.2d 393 (2014).

   Freudenberg, J., concurring.
   I agree with the analysis and holding of the majority opin-
ion. I write separately to address a period of time that such
opinion did not find necessary to reach in its statutory speedy
trial discussion. The majority found that sufficient speedy trial
time remained without the need to address the period of time
between the pretrial hearing on June 9 and when Coomes filed
his motion for absolute discharge on August 10, 2020. It is my
belief that the period between the pretrial conference and the
August 17 trial date would not have counted against the State
in the statutory speedy trial analysis.
   The State, Coomes, and his counsel all appeared at the June
9, 2020, pretrial conference. At that time, the district court dis-
cussed possible trial dates with the parties. Both counsel agreed
the suggested August 17 trial date was acceptable. The district
court also directly inquired of Coomes, “Does that [date] work
for you . . . ?” Coomes responded, “Yes it does.” The district
court then set the trial date, in accordance with the consent of
the parties, to begin on August 17. Coomes filed his motion to
discharge on August 10.
   Previously, this court has generally addressed as part of a
statutory speedy trial analysis the period of time between the
trial scheduling date and the date the trial begins. In State v.
                               - 773 -
          Nebraska Supreme Court Advance Sheets
                   309 Nebraska Reports
                         STATE v. COOMES
                         Cite as 309 Neb. 749
Alvarez, 189 Neb. 281, 291-92, 202 N.W.2d 604, 610 (1972),
we said:
      A failure by a defendant to demand a trial within the time
      he is required to be brought to trial as provided by sec-
      tions 29-1205 to 29-1209, R. S. Supp., 1971, or to object
      at the time trial date is set does not constitute a waiver of
      his [statutory speedy trial] rights . . . .
In State v. Kinstler, 207 Neb. 386, 390-91, 299 N.W.2d 182,
185-86 (1980), we clarified our position:
         In a series of decisions rendered by this court since
      the enactment of the speedy trial laws by the Legislature
      of the State of Nebraska, we have announced that the
      primary burden is upon the State to bring the accused
      person to trial within the time provided by law and that,
      if he is not brought to trial within that time, he is entitled
      to an absolute discharge from the offense alleged, in the
      absence of an express waiver or waiver as provided by
      statute. Moreover, we have held that the failure of the
      accused to object at the time the trial court enters an order
      setting the trial at a date after the 6-month period does not
      constitute a waiver of his statutory right to a speedy trial
      and, further, we have held that, if a portion of the statute
      is to be tolled by reason of one of the exceptions in the
      statute, the State has the burden of proving . . . that such
      exception is applicable.
   Section 29-1207 sets forth: “(4) The following periods shall
be excluded in computing the time for trial: . . . (b) The period
of delay resulting from a continuance granted at the request or
with the consent of the defendant or his or her counsel.” Such
exception is applicable to our analysis here.
   While the holdings of Alvarez and Kinstler are instructive,
both are factually distinguishable from the present matter. In
Alvarez, the record was silent on whether the defendant or his
counsel consented to the setting of the trial date. In Kinstler,
the motion to discharge was filed and granted prior to the set-
ting of a trial date.
                              - 774 -
         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                        STATE v. COOMES
                        Cite as 309 Neb. 749
   Here, the record clearly shows that both Coomes and his
counsel were asked by the district court about the identified
trial date and both agreed to the continuance to that date. This
was not mere passive acceptance of a trial date, but an agree-
ment on the record by both parties to the delay.
   Section 29-1207(4)(b) does not limit the excludable period
of delay to “motions,” at the request of or with the consent of
the defendant, for continuance of a trial date previously set.
It refers more broadly to “a continuance.” I view this “con-
tinuance” in light of the prior language of § 29-1207(1) that
every defendant shall be brought to trial within 6 months and
that “such time shall be computed as provided in this sec-
tion.” When reading a statute, what it does not say is often as
important as what it does say, and the whole and every part
of the statute must be considered in fixing the meaning of
any of its parts. See Robinson v. Houston, 298 Neb. 746, 905
N.W.2d 636 (2018). Viewing § 29-1207 as a whole, I believe
§ 29-1207(4)(b) refers to any delay or postponement of the
6-month statutory period that has been requested by or con-
sented to by the defendant or defense counsel.
   When a trial court is able to ascertain that a proposed trial
date will fall outside the statutory period, I would continue to
encourage trial courts, in accordance with State v. Johnson,
201 Neb. 322, 268 N.W.2d 85 (1978), overruled on other
grounds, State v. Petty, 269 Neb. 205, 691 N.W.2d 101 (2005),
to advise the defendant thereof and ascertain on the record
whether the defendant waives the right to a speedy trial and
consents to the trial date set. But such an express waiver of
the right to a speedy trial is not a condition to exclusion from
computation, under § 29-1207(4)(b), of the period of time
between the defendant’s consent to a trial date and the date
consented to.
   Even if we did not view a stated acquiescence to the setting
of a trial date as a continuance with the consent of the defend­
ant under the plain language of § 29-1207(4)(b), it is inap-
propriate for a defendant to gain advantage from a violation
                              - 775 -
         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                        STATE v. COOMES
                        Cite as 309 Neb. 749
when the defendant was a party to that violation. See State v.
Brown, 307 Md. 651, 516 A.2d 965 (1986). A defendant ordi-
narily cannot invite an error and then complain of it. See State
v. Williams, 212 Neb. 860, 326 N.W.2d 678 (1982).
   As such, the record clearly establishes by a greater weight
of the evidence that the period between June 9 and August
17, 2020, was a period of delay granted with the consent
of Coomes and his counsel which would further toll the
statutory speedy trial clock. To find otherwise would allow
Coomes to benefit from invited error. I believe we should have
addressed such period of time, and therefore, I concur with the
majority opinion.
